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pon evaluation, Please excuse the patient from work,
"woz : :

The patien' is scheduled f fora follow up evaluation, at which point will be provide an update to the

patient's status.

Thank you for cooperation.
Sincerely,
co Alisha Oropallo, MD, FACS
Christina Delpin, MD, FACS
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oO
Michael Persico, MD, FACS

co Russell Caprioli, DPM, FACFAS

+ John Haight, DPM, FACFAS

o Scott Gawlik, DPM, FACFAS

Mithael Pliskin, DPM, FACFAS

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1999 Marcus Avenue Suite M6, New Hyde Park, NY, 11042

Phone: (516)233-3780 Fax; (516)233-3644

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